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To Whom It May Concern,

I am writing this letter in support of my friend, Oren, to provide insight into his character and
respectfully request your consideration for his bail.

I have known Oren since 1995, when I was 10 years old. Over the years, we have maintained a close
friendship, and our families are now friends as well. Oren has always been a respectful and
ambitious person. His behavior toward others, including women and his peers, has consistently
been courteous and kind. In all the years I have known him, I have never witnessed him being
disrespectful to anyone.

Oren is the type of person who seeks to improve himself and those around him. His positive outlook
and determination have always stood out to me, and I ﬁrmly believe that his presence in our
community is a positive inﬂuence.

I sincerely hope this letter provides some clarity about Oren’s character. I am conﬁdent that he will
respect all the conditions set forth by the court if granted bail.

Thank you for your time and consideration. Please feel free to contact me if you need further
information.

Sincerely,

Yaniv Levi
